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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

     CHRISTOPHER E. DORWORTH,

          Plaintiff,

     v.

     JOEL MICAH GREENBERG, ANDREW                       Case No.: 6:23-CV-00871
     W. GREENBERG, SUE GREENBERG,
     ABBY GREENBERG, AWG, INC.,
     GREENBERG DENTAL ASSOCIATES,
     LLC, GREENBERG DENTAL &
     ORTHODONTICS, P.A., GREENBERG
     DENTAL SPECIALTY GROUP, LLC,
     and A.B.,

          Defendants.



           MEMORANDUM OF LAW IN OPPOSITION TO MOTION
            BY ANDREW GREENBERG, SUE GREENBERG, AND
          AWG, INC. TO DISMISS VERIFIED AMENDED COMPLAINT1




 1
   Plaintiff has requested an extension of time so that he may draft a response to the Greenbergs
 Motion in connection with the other Motions in this case, which are due October 10, 2023. Doc.
 95. However, Plaintiff wishes to file this response timely as the motion for extension has not been
 ruled upon yet. If the Court is inclined to extend the time to respond to the Greenbergs’ Motion to
 the deadline for the other motions, then undersigned counsel respectfully requests that this
 response be disregarded and that Plaintiff be permitted to file a response to the Greenbergs’ Motion
 together with the other responses due on October 10, 2023.
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                          PRELIMINARY STATEMENT

       Plaintiff Christopher E. Dorworth (“Dorworth”) respectfully submits this

 Memorandum of Law in opposition to the motion by Defendants Andrew Greenberg

 (“Andrew”), Sue Greenberg (“Sue”), and AWG, Inc. (“AWG” and, collectively with

 Andrew and Sue, the “Greenbergs”) to dismiss the Verified Amended Complaint

 (the “Complaint”). According to the Greenbergs’ motion (the “Motion”), the

 Complaint allegations against them reduce to “mundane parental activity.” Motion

 at 2. This simply is not true. The Greenbergs’ child is the infamous criminal Joel

 Greenberg (“Joel”), and the Complaint specifically alleges that (as Joel confessed to

 Dorworth), Andrew and Sue conspired with Joel to commit state and federal crimes.

                                        FACTS

       Joel Greenberg became one of the most corrupt politicians in Florida history

 by using his position as a county tax collector to steal more than $1.3 million through

 cryptocurrency theft, bribery of public officials, and kickbacks. According to Joel,

 Andrew assisted with at least some of these crimes. ¶ 86. Once Joel was indicted,

 he, his wife Abby, along with Andrew and Sue, embarked upon a conspiracy to avoid

 justice. First, they tried to convince Congressman Matt Gaetz and Dorworth, a well-

 known figure in Florida politics ¶ 14, to obtain a pardon from then-President Trump.

 ¶¶ 83 et seq. When Dorworth refused, Joel threatened him: “Joel Greenberg

 indicated that Dorworth, Gaetz, and others would be falsely implicated by Greenberg
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 if Dorworth and Gaetz did not help Joel mitigate his liability by obtaining a pardon”

 ¶¶ 88 et seq. Dorworth still refused. Joel then unsuccessfully tried to induce Gaetz

 and Dorworth to lobby for the firing of the AUSA who was prosecuting him. ¶ 106.

 Finally, in response to Dorworth’s and Gaetz’ continued refusals, Joel was for once

 true to his word, and set about falsely accusing Dorworth of various crimes, ¶¶ 118–

 123, 142, 146, 151, 155, 157, 163, 164, 170–175, 180, in the hope of obtaining

 “cooperation credit.” ¶¶ 7, 183. Those efforts eventually failed, but only after

 causing both Dorworth and Gaetz considerable embarrassment and harm.

       Central to this motion is the involvement of Joel’s parents and AWG in Joel’s

 nefarious activities. In dozens of paragraphs it sets forth in detail the ways in which

 the Greenbergs participated in the conspiracy by knowingly financing Joel’s

 criminal activities. Twelve of those paragraphs are alleged upon information and

 belief. Another two dozen paragraphs are not so delimited. Most importantly, in his

 July 19, 2020 conversation with Plaintiff, Joel confessed that he and his parents had

 agreed to work together to commit misconduct. ¶¶ 92–94, 102–108. The Complaint

 contains some three dozen paragraphs specifying what the Greenbergs did. Yet, the

 Greenbergs claim it fails to adequately allege that they assisted Joel in his scheme to

 avoid justice. The Greenbergs’ defense disintegrates upon analysis.




                                           2
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     DORWORTH ALLEGES WRONGDOING BY THE GREENBERGS

       In their recitation of the legal standards governing dismissal, the Greenbergs

 overlook a variety of central elements. For example, Bell Atl. v. Twombly, 550 U.S.

 544, 555–56 (2007) held, “[A] complaint attacked by a Rule 12(b)(6) motion to

 dismiss does not need detailed factual allegations” and is sufficient “even if it

 appears that a recovery is very remote and unlikely.” 2 As the Eleventh Circuit stated

 in Watts v. Florida Int'l Univ., 495 F.3d 1289, 1295–96 (2007), the “Supreme Court's

 most recent formulation of the pleading specificity standard is that ‘stating such a

 claim requires a complaint with enough factual matter (taken as true) to suggest’ the

 required element” (quoting Twombly at 555–56, emphasis added). Continuing to

 quote Twombly, Watts states:

       the rule "does not impose a probability requirement at the pleading stage,"
       but instead "simply calls for enough fact to raise a reasonable expectation
       that discovery will reveal evidence of" the necessary element. Id. It is
       sufficient if the complaint succeeds in "identifying facts that are suggestive
       enough to render [the element] plausible." Id.

 Id. (emphasis added). Importantly, ADA v. Cigna, 605 F.3d 1283 (11th Cir. 2010),

 relied upon extensively by the Greenbergs, states that a “plaintiff need not offer

 direct evidence of a RICO agreement; the existence of conspiracy "may be inferred

 from the conduct of the participants." Id. at 1293. The Greenbergs even suggest that




 2
  Nowhere in their six references to Twombly (Motion at 10, 12 (2x), 13, 21, and 24) do the
 Greenbergs acknowledge this central and oft-quoted holding.
                                             3
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 a “tacit agreement” may be inferred from factual allegations. Motion at 11.

             The Motion, Not the Complaint is “Teeming with Inconsistencies”

           The Motion claims that “a close chronological reading of Plaintiff’s

 allegations shows that his entire theory is implausible and teeming with internal

 inconsistencies.” 3 Motion at 5. However, it is the Greenbergs’ recitation that is

 “inconsistent” with the pleading. The Greenbergs claim that Greenberg was charged

 on July 19, 2020, Motion at 5, but this was actually the date that Abby lured Rebekah

 Dorworth to the resort. ¶ 71. (Joel was charged on June 17, 2020, ¶ 65). The

 Greenbergs then incredibly claim that “Soon after—Plaintiff does not say how

 soon—Joel cornered Plaintiff and demanded that Plaintiff help him secure a

 preemptive pardon. Id. ¶¶ 72–90.” Motion at 5. (emphasis supplied). The exact date

 of this encounter, July 19, 2020, the date the Greenbergs incorrectly use for Joel’s

 charges, appears in the paragraph immediately preceding the range cited by the

 Greenbergs claiming Dorworth did not provide the date. ¶ 71. Further, it was

 Rebekah Dorworth, not Plaintiff, who was cornered by Joel. ¶ 82.

           The Greenbergs continue to misconstrue the pleading as it relates to A.B. The

 Greenbergs claim that A.B. testified “about Joel” to a grand jury in August 2020.

 Motion at 6, citing ¶¶ 152 and 235. The cited paragraphs, however, state that A.B.

 met with prosecutors, ¶ 152, and that Joel tried to stop A.B. from testifying before


 3
     Of course, these “inconsistency” contentions are, at most, credibility issues for the factfinder.
                                                     4
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 the grand jury. ¶ 235 (claiming obstruction). The distinction is important. According

 to Joel Greenberg, the authorities learned about Greenberg’s misconduct with A.B.

 from electronic records, and not from A.B. ¶ 122 (citing Exhibit 3, Greenberg’s text

 message to Dorworth). 4 Thus, there is nothing inconsistent with the Greenbergs

 paying A.B.5 Nor is there anything inconsistent with (1) Greenberg first attempting

 to prevent the authorities from speaking to A.B. to prevent her from being forced to

 corroborate his misconduct, in an effort to avoid indictment for his crimes with A.B.,

 and then, (2) after he was indicted for that conduct based upon electronic records,

 switching tactics and deciding to implicate Dorworth and others to obtain

 cooperation credit.6 In fact, this is exactly what the Complaint alleges. ¶¶ 118-120.

 The Greenbergs call Plaintiff’s allegations “muddled,” possibly because they

 juxtapose events in reverse order, citing to ¶ 122 before ¶ 118, Motion at 6-7, despite

 the intervening ¶ 119 explaining Greenberg switched tactics once he indicted. Joel

 was indicated for sex crimes with A.B. on August 19, 2020. Although the

 Greenbergs claim that Joel was trying to prevent A.B. from cooperating with the




 4
   The Greenbergs acknowledge all of this, but in a footnote. Page 6, n.5.
 5
   Nor is the fact that A.B. recruited a friend to also implicate others inconsistent with the
 Greenberg’s corrupt inducements to A.B. In fact, it shows the lengths that the Greenbergs and A.B.
 went to implicate Dorworth and others.
 6
   The Greenbergs claim Joel could not mitigate his federal sentence by interviewing with state
 authorities who are “without jurisdiction to help Joel with his federal charges.” Motion n. 6. They
 are plainly wrong. E.g. United States v. Love, 985 F.2d 732, 734-35 (3rd Cir. 1993). (holding
 “substantial assistance” credit under USSG 5K1.1 not limited to assistance to federal authorities).
                                                 5
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 authorities “around the same time” that she began to frame Dorworth, Motion at 6,7

 this ignores the intervening indictment and Joel’s change of strategy. ¶ 119. The

 complaint alleges that in the late summer,8 i.e. after Joel’s indictment, Greenberg

 began to attempt to falsely implicate Dorworth and others. ¶¶ 119 et seq. The

 Greenbergs’ brief, not Dorworth’s pleading, is “teeming with inconsistencies.”

 Greenbergs’ brief does not even fairly characterize the Complaint.9




 7
   The Greenbergs’ footnote on Page 6 engages in far more speculation than Dorworth’s Complaint
 (the Greenbergs’ characterization to the contrary), and continues to mischaracterize the pleading.
 First, they “surmise” that A.B. implicated and testified against Joel, despite no allegation or
 implication that she did. The paragraph they cite states that A.B. “testified or was requested to
 testify,” (emphasis supplied) at various times from 2020-2022. Para 153. This does not mean that
 she testified against Joel Greenberg before he was indicted for crimes with her. In fact, from Joel
 Greenberg’s text messages to Dorworth, it appears she did not. Exhibit 3. Further, even if A.B.
 was compelled by the Government to testify against her wishes, and did so, this is not inconsistent
 with her later conspiring with the Greenbergs to frame Dorworth and others.
 8
   The Summer ended on September 21, 2020. “Late summer,” ¶ 122, obviously refers to activities
 after August 19, 2020. ¶ 118.
 9
   Not only does the Greenbergs’ brief mischaracterize the pleading, it also mischaracterizes the
 caselaw. For example, the Greenbergs’ quotation of Hopkins v. Hosemann, No. 19-60662, 2023
 WL 4990543, at *12 (5th Cir. Aug. 4, 2023), omits the full quote and substitutes “Plaintiff’s theory
 of the case” (outside quotes) for “the dissent’s argument.” C.f. Motion at 8 and Hopkins at *12
 (upholding the “Plaintiff’s theory of the case,” but disagreeing with the dissent).
                                                  6
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                           The Pertinent Complaint Allegations 10

        Further, the Motion argues that the Complaint makes no “non-conclusory”

 allegations of wrongdoing against the Greenbergs.11 This too is incorrect. As is

 detailed below, the Complaint makes literally dozens of non-conclusory allegations.

 On June 17, 2020 Joel was indicted. ¶ 39. On July 19, 2020 (32 days later) Joel

 Greenberg’s wife, Abby Greenberg, lured Dorworth’s wife Rebekah to a resort,

 assuring Rebekah that “Joel would not be present,” ¶ 74, which turned out to be

 false. ¶¶ 77, 82. Later, Joel told Dorworth that he was concerned about “his exposure

 for sexual misconduct with A.B.” ¶ 91. Joel then explained his parents’ role in his

 initial scheme (emphasis added):

        92. Greenberg told Dorworth that he was paying for A.B.’s attorney’s fees in
        an attempt to shape her testimony so that he could avoid charges. 12

        93. Greenberg also told Dorworth that he and his parents would seek A.B.’s
        cooperation by “paying her off” and that he had determined that A.B. would
        accept such inducement.

        94. Greenberg told Dorworth that his family and their businesses would
        pay any amount necessary to obtain a pardon.


 10
     Although Defendants complain that the original Complaint and criminal indictments are
 incorporated into the Amended Complaint, all necessary allegations for the amended complaint
 are stated therein, without reference to other documents. Plaintiff simply included the other
 pleadings by reference to provide additional context and information, and to ensure that
 Defendants cannot take advantage of any inadvertent omission of a fact in the redrafted document.
 To the extent that this creates, rather than avoids, an issue with the pleading, the other documents
 can be disregarded, as no Defendant has raised any omission of information from the other
 pleadings in its Motion.
 11
    The Greenbergs use the word “conclusory” 26 times in the Motion. However, they ignore a
 plethora of non-conclusory allegations, as detailed herein.
 12
    Joel did this with assistance from his parents. (¶ 300).
                                                  7
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 These are obviously straightforward statements of fact, sourced straight from Joel.

 And, read fairly, these paragraphs allege that at some point between June 17 and

 July 19, 2020,13 Joel and his parents entered into a conspiracy to induce A.B. to

 commit perjury, and further to obtain a pardon by “paying” people. The Complaint

 then details how Andrew and Sue and AWG became involved. See Appendix,

 Allegations Showing Involvement of Andrew and Sue Greenberg and AWG. Of the

 30 paragraphs listed in the Appendix and above, over half (¶¶ 102, 103, 298, 306,

 307, 318, 320, 332, 334, 336, 388-390, 396, 460, and 461) are not even referenced

 in the Motion. 14 The Motion is classic strawman: The complaint it attacks is not the

 actual pleading. Unlike the Strawman Complaint, the real Complaint details a

 conspiracy involving the Greenbergs to extort, defame, and falsely accuse Dorworth.



 13
     These allegations suffice to overcome the Twombly rule that a “conclusory allegation of
 agreement at some unidentified point” is inadequate. Motion at 21. Indeed, even the heightened
 pleading requirements of Rule 9(b) are subject to relaxed pleading requirements where the Plaintiff
 lacks access to the exact facts of the claim. Corley v. Rosewood Care Center, 142 F.3d 1041, 1051
 (7th Cir. 1998).
 14
    An additional 14 paragraphs of the Complaint contain allegations about the Greenbergs that are
 alleged upon information and belief (¶¶ 105, 154, 213, 305, 306, 307, 308, 312, 313, 314, 315,
 327, 392, and 397). Comparison with the 30 paragraphs referenced above, each of which
 manifestly contains well-pleaded facts, shows that the facts pleaded are quite sufficient to render
 the I&B paragraphs plausible. See, Daisy v. Pollo Operations, Case No: 2:14-cv-564-FtM-38CM,
 at *10 (M.D. Fla. Mar. 27, 2015): “The Twombly plausibility standard does not prevent a plaintiff
 from "pleading facts alleged upon information and belief where the belief is based on factual
 information that makes the inference of culpability plausible. See Iqbal, 556 U.S. at 678” (internal
 quotation marks omitted). Accord, Zausner Foods Corp. v. Blandin, No. 22-22660-CIV-
 SINGHAL, at *9 (S.D. Fla. Aug. 16, 2023): “The 176-page Complaint features detailed and
 highly-specific factual allegations. … Though Plaintiff relies on information and belief to bolster
 its substantive allegations, this comes as no surprise given the nature of its claims. Plaintiff is
 requesting an equitable accounting because it suspects foul play and is not able to prove as much
 at the motion to dismiss stage.”
                                                  8
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                    THE COMPLAINT ADEQUATELY ALLEGES
                      WRONGDOING BY THE GREENBERGS

         The Greenbergs contend the Complaint does not accuse them of wrongdoing:

         All Plaintiff can muster is that “[Joel] Greenberg . . . told Dorworth that he
         and his parents would seek A.B.’s cooperation by ‘paying her off’ . . . [,] that
         he had determined that A.B. would accept such inducement,” and that “[Joel]
         Greenberg told Dorworth that his family and their businesses would pay any
         amount necessary to obtain a pardon.” Doc. 62 ¶¶ 93–94. 15 Neither allegation
         goes so far as to claim that the Greenbergs actually agreed to do anything
         (only that Joel said they would). And even accepting that the Greenbergs
         would somehow “pay off” A.B. (whatever that might mean) 16 or would pay
         to get their son a pardon, neither fact suggests that the Greenbergs agreed to
         be party to a conspiracy to defame Plaintiff.

  Motion at 14. This argument has two subparts: First, that the complaint does not

  allege that “the Greenbergs actually agreed to do anything (only that Joel said they

  would)”; and second that the complaint has no allegations that “suggest[] that the

  Greenbergs agreed to be party to a conspiracy to defame Dorworth.” Id. As to the

  first, Joel told Dorworth that his parents would support his scheme, and indeed they


  15
     The Greenbergs suggest in their Motion that because Vladimir St. Louis did not suggest in his
  letter that A.B. was bribed (as opposed to tampered with) by Joel that “the exhibit controls.” Of
  course, another exhibit clearly shows that Joel intended to pay for A.B.’s lawyer, which offer is
  corroborated in other discovery. Doc. 62-3. The Greenbergs cite Hoefling v. City of Miami, 811
  F.3d 1271, 1277 (11th Circuit 2016), dealing with a conflict between assertions about a particular
  exhibit, and content of the actual exhibit, not a supposed conflict between two exhibits. In this
  case, any inconsistency is between Joel’s various accounts. Further, there is nothing inconsistent
  with A.B. being tampered or bribed by Joel and also wishing to extract a payment from Dorworth.
  16
     This is but one of many misleading asides contained in the Motion. The phrase “pay off” does
  not appear in the Complaint. ¶ 93 reads, “Greenberg also told Dorworth that he and his parents
  would seek A.B.’s cooperation by ‘paying her off’ and that he had determined that A.B. would
  accept such inducement.” Surely, the Greenbergs’ professed ignorance about what “paying
  someone off” means is insincere. In any event, ¶¶ 27 (“A.B. was compensated by the Greenbergs
  to provide false testimony”) and 92 (“Greenberg told Dorworth that he was paying for A.B.’s
  attorney’s fees in an attempt to shape her testimony so that he could avoid charges”) make the
  meaning of the term clear to any fair reader of the Complaint.
                                                  9
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  did. Everything Joel said would happen did happen. See e.g. ¶ 107.

          Some of the paragraphs of the Complaint that allege the Greenbergs “agreed

  to be party to a conspiracy” commence with “According to Greenberg” or otherwise

  set forth the source. However, most do not (and of course need not17) provide such

  evidentiary-level support. ¶¶ 214, 294 306, 307, 318, 335, 338, 459–61. Moreover,

  it is nonsensical to suggest that, because the Complaint provides sourcing (“Joel said

  they would”) it is weaker than if it did not provide such evidence. For instance,

  examine how ¶ 102 (quoted above) reads both with and without the “Joel said they

  would” phrasing. The actual ¶ 102 reads:

          102. According to Greenberg, Andrew and Sue Greenberg and Greenberg
          Dental and AWG also agreed with Joel Greenberg and Abby Greenberg to
          pay any amounts necessary to obtain the pardon or firing of the prosecutor
          that Joel Greenberg was attempting to extort Dorworth and Gaetz to seek on
          his behalf.

  Here is a revised version, without sourcing:

          102. Andrew and Sue Greenberg and Greenberg Dental and AWG also
          agreed with Joel Greenberg and Abby Greenberg to pay any amounts
          necessary to obtain the pardon or firing of the prosecutor that Joel Greenberg
          was attempting to extort Dorworth and Gaetz to seek on his behalf.

  The Greenbergs assert that because the actual Complaint provides the source (a con-


  17
     Nodell v. Nicky's Rest. Equipment, 0:22-CV-62164-AUGUSTIN-BIRCH, 2023 WL 185480 at
  *3 (S.D. Fla. Jan. 13, 2023) (“As for whether Plaintiffs have evidentiary support for their
  allegations, that is a matter left for a later stage of this litigation.”); Blair v. Philips Elecs., Case
  No: 8:16-cv-3529-T-30JSS, slip op. at *4 (M.D. Fla. Feb. 28, 2017) (“Plaintiff need not provide
  evidentiary support or even detailed information as to why he thinks these advertising practices
  are deceptive or unfair. He need only provide Defendant with notice of the practices he thinks are
  deceptive or unfair.”)
                                                    10
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  fession by a member of the conspiracy), it is defective. Of course, without the

  sourcing, the Greenbergs would have branded the allegation “conclusory.”18

         The second subpart of the argument is that the Complaint lacks factual

  allegations indicating that the Greenbergs “agreed to be party to a conspiracy to

  defame Plaintiff.” Perhaps the Greenbergs’ Strawman Complaint lacks sufficient

  allegations, but the actual Complaint is filled with allegations that the Greenbergs

  participated in a conspiracy to defame Dorworth. The false and defamatory

  statements the Greenberg Defendants enabled through their financial support are set

  forth in detail in ¶¶ 445–455, and the Greenbergs’ involvement is described:

         294. Andrew and Sue Greenberg, and their companies Greenberg Dental and
         AWG agreed to provide, and Abby Greenberg and A.B. agreed to accept,
         compensation in exchange for participating in the process crimes intended to
         falsely implicate Dorworth and others. 19

         459. Defendants Andrew Greenberg, Sue Greenberg, Abby Greenberg,
         Greenberg Dental, and AWG, Inc., each possessed knowledge of Joel
         Greenberg, Abby Greenberg, and A.B.’s defamation. 20



  18
     Note that the Greenbergs wish to have it both ways: Where evidentiary support is not provided,
  they complain—And when evidentiary support is provided, they still complain.
  19
     This allegation in particular distinguishes this case from Lawrence v. BofA, 455 F. App’x 904
  (11th Cir. 2012), and Twitter v. Taamneh, 598 U.S. 471, 500 (2023), which involved what the
  Supreme Court called “passive nonfeasance.”
  20
     This allegation in particular distinguishes this case from B-Smith Enters. v. BofA, No. 22-11383,
  2023 WL 2034419 (11th Cir. Feb. 16, 2023), where the complaint was dismissed because it did
  not allege that the defendant had any knowledge of the wrongdoing. The Greenbergs also cite Doe
  v. Samford Univ., 29 F.4th 675, 688 (11th Cir. 2022), for the proposition that a complaint which
  permits “obvious alternative explanations … [that] suggest lawful conduct” is insufficient. To
  come within the holdings of these cases, the Greenbergs’ Strawman Complaint merely alleges that
  they financially supported their son. Missing from the Strawman Complaint are the many
  allegations in the real Complaint showing that support was provided for the specific purpose of
  aiding Joel in committing crimes.
                                                  11
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         460. Defendants each provided substantial assistance to Joel Greenberg and
         A.B. by providing financial resources to enable the defamatory actions,
         among other actions.

         461. Defendants provided these resources with the knowledge and intent that
         they would be used to harm Dorworth, among other things. 21

  Although the Greenbergs claim that “Plaintiff only offers supposition” and

  “inference” that they provided resources for Joel’s attorney fees and other aid to the

  scheme, Motion at 9, the Greenbergs have confirmed in discovery that they paid over

  $2.2 million in connection with Joel’s criminal charges, including attorney fees.

  Finally, the Greenbergs argue that Andrew’s repaying money stolen by Joel from

  the Tax Collector’s Office, “does not suggest that he was a knowing party to a civil


  21
     These allegations render obvious the difference between this case and cases cited by the
  Greenbergs (Motion, p. 1) for the proposition that parents are not generally liable for the torts of
  their adult children. In Carney v. Gambel, 751 So. 2d 653, 654 (Fla. 4th DCA 1999), the parents
  were not liable when their adult son attacked a security guard. To make the facts of Carney apposite
  here, the parents would have had to aid their son in attacking the security guard. Similarly, in K.G.
  v. S.B., 46 Cal.App.5th 625, 628 (Cal. Ct. App. 2020), the question posed was “whether a father
  who provides financial support for his adult son may be held liable for the death of his son's
  girlfriend by overdose on methamphetamine allegedly purchased or supplied by the adult son.” To
  make K.G. apposite, the father would have had to give the son money with the intention that the
  son buy drugs for his girlfriend. Of course, the most important difference between K.G. and this
  case is that the girlfriend willingly took the drugs on which she overdosed, here Dorworth was an
  innocent and unknowing victim of the Greenbergs. Lastly, in Knight v. Merhige, 133 So.3d 1140
  (Fla. 4th DCA 2014), the Court held that a mother and father were not liable for a shooting
  committed by their adult son at a Thanksgiving Dinner. Importantly, the parents did not provide
  the firearm, help the son procure it, or do anything other than invite him to the Thanksgiving
  dinner, a very common thing for parents to do. Here, of course, the parents provided material
  support to Greenberg through the racketeering enterprise over a continuous period of time (as
  opposed to a one-off shooting) when they knew that their aid was being used by Greenberg to
  commit improper acts against others. Moreover, any financial support provided by the parents in
  Merhige was for living and personal assistance, not for taking over a tax collector office and
  running an “independent investigation,” or the other extraordinary aid that the Greenberg family
  rendered to Joel. In short, the Greenbergs did far more than bring Joel into the “family circle,” they
  deliberately aided and abetted his criminal conduct for years, and then used further resources in
  support of an unlawful attempt to insulate themselves and Greenberg from liability.
                                                   12
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  or criminal conspiracy.” Motion at 15. However, what the Complaint actually alleges

  is that the Greenbergs entered into the conspiracy to mitigate not just Joel’s liability

  but also their own, ¶¶ 103, 332, and that the funds were provided with the intent22

  to cover up the cryptocurrency theft in which Andrew was involved. ¶¶ 332, 334,

  335, 336, 391, 393, 396. Moreover, unlike other payments, the Greenbergs suggest

  no “innocent explanation” for the repayment of stolen funds. The Greenberg’s

  argument addresses their Strawman Complaint, not the real Complaint.

         In context, the payment by the Greenbergs of Joel’s seven-figure obligations

  clearly shows consciousness of guilt. First, the Greenbergs disguised the fact that

  they were the source of the funds, by using an intermediary. ¶ 392. Then, they

  insisted on receiving a general release, benefitting both them and their companies. ¶

  393. Finally, a week later, Joel misled the sentencing Court by gratuitously

  distancing himself from the family that had just provided funds for the payment of

  restitution. ¶ 390 ("He's lost all financial support”). These facts are consistent only

  with minds burdened with guilt. There is no “innocent explanation.”


  22
     Cf. Motion, p. 22: “So too here, merely financially supporting a child does not carry a duty to
  ensure that support will never indirectly or incidentally contribute to later crime.” But, the
  Complaint does not allege a “duty to ensure”; it alleges that the financial support was given with
  the specific intent that it be used to commit a crime. For this same reason, ZP No. 54 v. Fidelity &
  Deposit, 917 So.2d 368 (Fla. 5th DCA 2005) (Motion, p. 22) is inapposite. There, a bonding
  company was sued as an accomplice to fraud, even though the complaint did not allege that the
  defendant issued the bond intending to further fraud. By contrast, Dorworth is not suing a bail
  bondsman, bank, communications provider, or others who provided routine services that Joel used
  to further his scheme. Here, the Complaint repeatedly alleges that the Greenbergs provided Joel
  with funds for the specific purpose of, among other things, harming Dorworth.
                                                  13
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                  DORWORTH ADEQUATELY ALLEGES A RICO
                  ENTERPRISE INVOLVING THE GREENBERGS

         In Boyle v. United States, 129 S.Ct. 2237, 2241 (2009) is the leading Supreme

  Court case on the enterprise requirement, but is not cited by the Greenbergs. There,

  the Court held that even a loosely organized group without a leader or long term plan

  constituted a RICO enterprise. Id. Boyle requires only “three structural features: a

  purpose, relationships among those associated with the enterprise, and longevity

  sufficient to permit these associates to pursue the enterprise's purpose.” Id. at 2244.

  The Greenberg Enterprise’s purpose was to falsely implicate Dorworth, the members

  of the enterprise were related through family, business, and personal ties, and these

  relationships endured for sufficiently long – several years at least – to permit the

  members to pursue that purpose. As for the conspiracy requirement, in Salinas v.

  United States, 522 U.S. 52 (1997), also omitted by the Greenbergs, the Court found

  that (1) RICO conspiracy is “even more comprehensive” than other conspiracy law,

  (2) supporters of a conspiracy are as guilty as the perpetrators, and (3) people who

  do not commit a substantive offense may be liable for RICO conspiracy. Id. at 63-

  64. The Complaint adequately alleges that the Greenbergs agreed to participate in

  the conspiracy to defame Plaintiff.23 Cisneros v. Petland, 972 F.3d 1204, 1220 (11th


  23
    The Greenbergs’ reliance on Twombly (Motion, p. 21) as an example of a case where a complaint
  was dismissed for insufficiently pleading an agreement is misplaced, for there the Court held that
  “the complaint leaves no doubt that the plaintiffs rest their § 1 claim on descriptions of parallel

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  Cir. 2020), cited by the Greenbergs, states “RICO conspiracy can be found through

  the conduct of the alleged participants or from circumstantial evidence of a scheme.”

         The Greenbergs argue that the Complaint inadequately alleges an underlying

  enterprise, and that it inadequately alleges that the Greenbergs agreed to join in a

  conspiracy to violate RICO. Neither claim survives analysis. The Greenbergs assert:

         Thus, Plaintiff must “plausibly allege that the participants shared the purpose
         of . . . [exonerating Joel] through a particular criminal course of conduct”—
         not an innocent alternative. … That is where he fails. Plaintiff has not alleged
         sufficient “concrete facts”—only “sweeping, general, and conclusory”
         allegations—to rebut possible innocent and “obvious alternative” purposes.

  Motion at 17. As shown above, the Complaint alleges in “concrete” detail that the

  Greenbergs joined a criminal conspiracy, did so with the intent of committing

  crimes, and in fact committed crimes.24 “Innocent” explanations belong in testimony

  given by the Greenbergs to a jury, they need not be negated in the Complaint. 25 In


  conduct and not on any allegation of actual agreement.” 550 U.S. at 564. Here, an agreement is
  repeatedly alleged.
  24
     As for the suggestion that Plaintiff “offers only conclusory allegations” about the Greenbergs’
  agreement to the conspiracy, the litany of allegations cited includes only a single paragraph, ¶ 214,
  from The RICO Conspiracy section of the pleading. Motion at 9.
  25
     The Greenbergs claim Plaintiff is required to plead facts sufficient “to allow this Court to rule
  out those innocent explanations.” Motion at 18 (emphasis added). The Greenbergs claim Plaintiff
  to anticipate any possible “innocent explanations” for the allegations, and then preemptively rebut
  them in the complaint. This is, of course, inconsistent with the pleading standards. The only
  authority provided by the Greenbergs for this assertion is Tan v. Quick Box, LLC, No. 3:20-CV-
  01082, 2020 WL 7226440, at *23 (S.D. Cal. Dec. 8, 2020), (miscited by the Greenbergs as “Tam,”)
  but this relies in turn upon Eclectic Properties v. Marcus & Millichap, 751 F.3d 990, 999 (9th Cir.
  2014), which is not discussed by the Greenbergs. This is not surprising: In Eclectic, the alleged
  fraud was that properties were sold to the plaintiffs at three times their value, but the Court held
  that real estate prices fluctuated, particularly during the recession during the relevant time. Id. at
  999. Further, the Court noted that the complaint asserted defendants had purchased the properties
  from independent parties for twice the alleged value, and had spent the remaining third on

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  Singh v. NYCTL, 14-2558, 2016 WL 3962009 (S.D.N.Y. 2016), the plaintiff alleged

  that the defendant “should have known” rather than did know. Similarly, in Parm v.

  National Bank, 242 F.Supp.3d 1321 (N.D. Ga. 2017), “Plaintiff’s allegations …

  essentially attempt to recast a contractual relationship as a RICO enterprise.”

                         The Greenbergs’ Involvement in the Enterprise

            The Greenbergs claim that instead of showing that the Greenbergs agreed to

  the overall objective of the conspiracy, he offers only “conclusory claims” that “the

  Greenbergs provided money to Joel and Abby Greenberg with the knowledge and

  desire that it would be used further” the scheme. Motion at 19. To the contrary, the

  Complaint alleges that the Greenbergs agreed to participate in Joel’s felonious

  scheme. ¶¶ 93, 94, 102, 126, 127, 214, 294, 306. Many of the supposedly

  “Conclusory Allegations,” in the Greenbergs “Appendix” are not conclusory at all.

  E.g. ¶ 318 (alleging that the Greenbergs purchased a home for Abby Greenberg).26

  Other allegations are sourced from reliable sources. E.g. ¶ 331 (alleging Andrew

  Greenberg’s role in covering up the bitcoin scheme, as alleged in the indictment, see



  improvements, thus removing any gain to defendants. Id. at 999. Lastly, the “alternative
  explanation,” that the increased value was due to the existence of long-term leases enhancing the
  property value, also appeared in the complaint. Id. at 998. Nowhere does Eclectic indicate that the
  plaintiff was obligated to negate any innocent explanation. The court merely noted that numerous
  innocent explanations appeared on the face of the complaint. Id. Nor does Cisneros v. Petland,
  972 F.3d 1204, 1211 (11th Cir. 2020), which the Greenbergs imply supports this proposition,
  Motion at 17, contain the word “innocent” at all. There, the participants were merely alleged to be
  following a franchisor’s model for operating their franchises at a profit. Id. at 1212.
  26
       In fact, discovery confirms the Greenbergs purchased a home for Abby Greenberg in late 2020.
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  ¶ 333 citing Third Superseding Indictment Doc. 90, Page 14). 27

            Any notion of an innocent explanation is rebutted by facts showing the

  Greenbergs’ knowledge of an active involvement in the scheme. For example, the

  Complaint shows that the Greenbergs received bills for the work performed by the

  attorneys, thus showing their knowledge of Joel and the attorneys’ activity. ¶ 93.

  Further, the Complaint shows that Greenberg openly discussed his scheme with

  anybody who would listen, including his parents. ¶¶ 204-232 (Section titled

  “Greenberg’s Continued Attempts to Frame Others Were Well Known to Members

  of the Greenberg Enterprise and Even the General Public, and Greenberg Discussed

  this Scheme Openly and He was Caught Framing Others During this Time.”) In fact,

  Dorworth has learned in discovery that the Greenbergs messaged Greenberg

  regarding legal strategy and even attended meetings and conference calls with the

  different lawyers who represented Greenberg. Although the Greenbergs incredibly

  claim that there are “no non-conclusory allegations” that Defendants knew of A.B.’s

  existence, they of course knew of Joel’s indictment for misconduct with her. ¶ 118.

  The Greenbergs’ imply that some of their actions had innocent explanations, for

  example, their provision of aid to Abby Greenberg, but they fail to account for that

  fact that this aid vastly increased just after Joel was charged, and exceeded any

  reasonable or necessary aid to support their grandchildren. ¶¶ 319-320. Of course,


  27
       This fact has also been confirmed in discovery.
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  there is no innocent explanation for funding payoffs to A.B. ¶ 93, supra.

       DORWORTH SHOWS AIDING AND ABETTING DEFAMATION

        Count VI of the Complaint alleges that the Greenbergs aided and abetted the

  defamation repeatedly committed upon Dorworth. The Greenbergs argue that:

        Plaintiff’s aiding and abetting claim … fails because … Plaintiff has
        not (and cannot) allege that the Greenbergs were culpable through
        either knowledge of Joel’s alleged defamatory actions or through
        providing substantial assistance to advance those actions.

  Motion at 21-22. The Greenbergs are once again referring to their Strawman

  Complaint and not to the real Complaint, for the real Complaint alleges:

        126. Andrew and Sue Greenberg, as well as AWG and Greenberg Dental,
        agreed to provide funding to compensate Abby Greenberg and A.B. for
        providing false reports and testimony to the authorities and the federal grand
        jury.

        127. Andrew and Sue Greenberg, as well as AWG and Greenberg Dental,
        also agreed to provide funding for expenses in connection with providing
        false reports and testimony to the authorities and the grand jury, including
        legal, investigative, and other expenses.

        294. Andrew and Sue Greenberg, and their companies Greenberg Dental and
        AWG agreed to provide, and Abby Greenberg and A.B. agreed to accept,
        compensation in exchange for participating in the process crimes intended to
        falsely implicate Dorworth and others.

        306. Andrew and Sue Greenberg coordinated the material support of the
        Greenberg Enterprise.

        459. Defendants Andrew Greenberg, Sue Greenberg, Abby Greenberg,
        Greenberg Dental, and AWG, Inc., each possessed knowledge of Joel
        Greenberg, Abby Greenberg, and A.B.’s defamation.

        460. Defendants [referring to the defendants mentioned in ¶ 459] each
        provided substantial assistance to Joel Greenberg and A.B. by providing
        financial resources to enable the defamatory actions, among other actions.”
                                             18
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        461. Defendants [referring to the defendants mentioned in ¶ 459] provided
        these resources with the knowledge and intent that they would be used to
        harm Dorworth, among other things.

  Contrary to the Greenbergs’ assertion, the Complaint alleges both that they were

  “culpable through … knowledge of Joel’s alleged defamatory actions,” and that they

  “provid[ed] substantial assistance to advance those actions.”

                 DORWORTH SHOWS A CIVIL CONSPIRACY

        Count VI of the Complaint alleges a civil conspiracy to illegally defame

  Dorworth. At page 24 of the Motion, the Greenbergs argue:

        Plaintiff fails to allege facts supporting his claim that Defendants
        agreed to defame him. Plaintiff does not allege any meeting or gather-
        ing of the Defendants where they discussed their shared objective to
        minimize Joel’s liability and defame Plaintiff. In fact, Plaintiff does not
        identify any communication between the members of the alleged
        conspiracy for any purpose at all. Likewise, there are no non-conclu-
        sory allegations that the Greenbergs, the Greenberg Dental entities, or
        Abby even knew of A.B.’s existence. … In short, all of the “conspira-
        tors” conduct is equally suggestive of independent, parallel conduct
        without any collusion—and, indeed, innocent conduct….

  This claim that Dorworth needs to allege a “meeting or gathering” and “identify [a]

  communication" runs afoul of the Twombly rule quoted above that a complaint “does

  not need detailed factual allegations.” 550 U.S. at 556. As discussed previously, the

  Complaint alleges that sometime during a 32 day period in June–July, 2020, the

  Greenbergs agreed to participate in Joel’s felonious scheme. ¶¶ 93, 94, 102, 126,

  127, 214, 294, 306. The Complaint also repeatedly alleges that the Greenbergs were


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  aware of A.B.’s existence. ¶¶ 93, 126, 294, 459, 460. If the Greenbergs want further

  details, they can obtain them in discovery. The further claim that the Greenbergs’

  conduct is “equally suggestive of independent, parallel conduct without any

  collusion—and, indeed, innocent conduct” has been repeatedly refuted above.28

  Only in the Strawman Complaint can one infer “innocent conduct.”

                                       CONCLUSION

         The Court should deny the Motion. Should the Court find the Complaint

  deficient in any respect, Dorworth requests leave to replead, to correct any remaining

  shortcoming. 29 Finally, if the Court dismisses the Federal RICO claims without leave

  to replead, it should decline supplemental jurisdiction over the balance of the case,30

  including the Florida RICO, and remand the state law claims to the 18th Circuit,

  from which they were removed, for further proceedings there.

  Filed: September 26, 2023.                         Respectfully Submitted,

                                                     /s/ Michael Paul Beltran
                                                     Michael P Beltran

  28
     To find “parallel conduct,” the Greenbergs would have the Court believe that Joel Greenberg,
  Abby Greenberg, and A.B. each decided independently to falsely implicate Dorworth without any
  coordination between them or inducement from the Greenbergs. Presumably, the Court is to infer
  that Andrew Greenberg’s provision of $200,000 to cover up the bitcoin scheme was innocent
  (without any innocent explanation), the Greenbergs paid the lawyer bills without reviewing them
  or inquiring regarding the progress of Joel’s case, and Abby Greenberg and A.B. provided false
  information to prosecutors about Dorworth for no apparent reason.
  29
     For example, in ADA v. Cigna, 605 F.3d 1283 (11th Cir. 2010), relied upon extensively by the
  Greenbergs, the plaintiff was given two opportunities to replead after seriatim court orders
  dismissing the complaint for failure to state a claim. Id. at 1287-88.
  30
     See e.g. Carlsbad Technology v. HIF Bio, 129 S.Ct. 1862, 1869 (2009) (dismissing removed
  RICO claim and remanding state law claims to state court).
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                           CERTIFICATE OF SERVICE

        I will file a copy of the foregoing on the Court’s electronic system, which will
  send a copy to all counsel of record.

                                         /s/Michael Paul Beltran
                                         Michael P Beltran




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